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^AO I99A (Rev. 6/97) Order Selling Conclillons of Release                                                                    Page 1 of         .Pages




                                      United States District CourU                                                              ,g
                                                 Eastern             District of           Virginia               CLERKTir^DTsrh'Ci CQUHT
                                                                                                                        Al               v/k




                    United States Of America                             ORDER SETTING CONDITIONS
                                                                                           OF RELEASE
                                 V.
                                                                                           i^.Po I/tdS

                            Defendant


 IT IS ORDERED that the release of the defendant is subject to the following conditions:

           (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

           (2) The defendant shall immediately advise the court, defense counsel and the U.S. Attorney in writing before any change in
                 address and telephone number.

           (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

                 directed. The defendant shall appear at (if blank, to be nntifiedl                    United States District Court

                    401 Courthouse Sq.. Alexandria, VA          on                 OI II cQ
                                                                                          • II O. QTT   _L          ■' Od*"          PlQ
                                                                                                Date and Time      ^0)^

                                         Release on Personal Recognizance or Unsecured Bond

  IT IS FURTHER ORDERED that the defendant be released provided that:

  ( / ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.
  (      ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
                                                                                                                dollars ($                         )
                 in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                    DISTRIBUTION:       COURT       DEFENDANT    PRETRIAL      SERVICES        U.S. ATTORNEY      U.S. MARSHAL
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AO i99B (Rev 12/11) Additional Conditions of Release                                                                                          cPofx3i
                                                                                                                                          Page^^^^ of^—^Pages

                                                   ADDITIONAL CONDITIONS OF RELEASE

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( Q) (6) The defendant is placed in the custody of;
              Person or organization
              Address (only ifahow is an orgaiiizalion)
              City and State                                                                                         Tel. No.
who agrees to (a) supervise the defendant, (b) use every efYort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                          Signed:
                                                                                                         Custodian                                    Dale
              The defendant must;
              (a) report on a regular basis to the following agency:                Pretrial Services
                   continue or actively seek employment,
                   continue or start an education program.
                   surrender any passport to:
                   not obtain a passport or other international travel document.
                   abide by the following restrictions on personal association, residence, or travel:        Do not depart the Washington D.C.
                   metropolitan area without prior approval of Pretrial Services or the Court.
      (mi) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                   including:

     ( mi) (h) get medical or psychiatric treatment:

     ( □ ) (i) return to custody each                        at            o'clock after being released at                      o'clock for employment, schooling.
                   or the following purposes:


      ( n ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                   necessary.

      (□) (k) not possess a firearm, destructive device, or other weapon.
      (□) (1) not use alcohol ( □ )atall( □ ) excessively.
      (□) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                   medical practitioner.
      (□) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                   random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                   prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                   accuracy of prohibited substance screening or testing.
      ( □ ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                   supervising officer.
       ( n ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                   ( mi) (i) Curfew. You are restricted to your residence every day { n ) from                                   to              .or ( [I] )
                                 directed by the pretrial services office or supervising officer; or
                   (□) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                               medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                               activities approved in advance by the pretrial services office or supervising officer; or
                   ( n ) (iii) Home Incarceration. You arc restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                 court appearances or other activities specifically approved by the court.
       (C ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                   requirements and instructions provided.
                   (□ ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                          supervising officer.
       (□) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
        . I                                traffic stops.
                   arrestSjOuestioning, or tratric                   _        .                   ,
        ^ ) (s)          "Dp,1-4 KV^ j. ) f/T Wj>a k OAij                                                       "


   WHITE- COURT                YELLOW- DEFENDANT                  BLUE- U.S. ATTORNEY                 PINK- U.S. MARSHAL              GREEN- PRETRIAL SERVICES
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AO 199C (Rev. 09/08) Advice of Penalties                                                                   Pace ' ^        of              Pages

                                              ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

        Violating any of the foregoing condition.s of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
     While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation:
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
     If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
    (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
            not more than 5250,000 or imprisoned for not more than 10 years, or both:
      (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
            more than $250,000 or imprisoned for not more than five years, or both:
      (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
      (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. 1 promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                                         Defendant's Signature



                                                                                                                    Telephone Number



                                                   Directions to the United States Marshal


(□)      The defendant is ORDERED released after processing.
(□)      The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
         defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
         produced before the appropriate judge at the time and^pklC^pecified.              ^
              I I I^                                             / /j^ Theresa CyoUBuchanan
Date:         ^/ / ^              ^                                            United St^ Magistrate Jpdgfl                            j
                 f          I                                                            Judicial Officer's Signature



                                                                                           Printed name and title




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